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              UNITED STATES OF AMERICA,

                                                            CASE NO.:2:18-cr-50


                   V.



              REGINALD BECKHAM,

                         Defendant.



                                              ORDER


                   After an independent and de novo review of the entire

              record, the undersigned concurs with the Magistrate Judge's

              Report and Recommendation.     Dkt. No. 607.    The Magistrate Judge

              recommended the Court find Defendant Beckham competent to stand

              trial without holding a competency hearing.        Id. at 1.    In

              reaching this conclusion, the Magistrate Judge reviewed the

              Forensic Report prepared by Dr. Shawn E. Channell at the Federal

              Medical Center in Devens, Massachusetts.       Id.; Dkt. No. 570.

              The Magistrate Judge also noted that Defendant ^^stipulated to

              the findings contained within the Forensic Report."          Dkt. No.

              607 at 3; see also Dkt. No. 576.      No party to this case has

              filed any Objections.




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                   Accordingly, the Court ADOPTS the Magistrate Judge's Report

              and Recommendation as the opinion of the Court.        The Court FINDS

              Defendant Beckham competent to stand trial.

                   SO ORDERED , this            day 0^7 . A                 , 2019.




                                          HON. ^IS^r^^BEY WOOD, JUDGE
                                          UNI-^D STATES DISTRICT COURT
                                          ;ou/hern district of Georgia




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